         Case 2:19-cv-11403-SSV-JVM Document 23 Filed 09/04/19 Page 1 of 1



MINUTE ENTRY
VAN MEERVELD
September 4, 2019

                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

    JOHN DOE,                                            CIVIL ACTION
       Plaintiff                                         NO. 19-11403

    VERSUS                                               SECTION: "R" (1)

    ADMINISTRATORS OF THE TULANE                         JUDGE SARAH S. VANCE
    EDUCATIONAL FUND,
        Defendants                                       MAGISTRATE JUDGE
                                                         JANIS VAN MEERVELD

                                  CORRECTED MINUTE ENTRY1

         A settlement conference was held on Friday, August 30, 2019.

         PRESENT:        For the Plaintiff:        Ellie Schilling, Brian Capitelli, John Doe and
                                                   his mother and father

                         For the Defendant:        Kim Boyle, Nan Alessandra, Howard Boyd,
                                                   Erica Woodley

         Following settlement discussions, the parties were unable to negotiate a settlement of the

case at this time. Further negotiations will proceed telephonically.




                                                                Janis van Meerveld
                                                             United States Magistrate Judge


    MJSTAR: 04:43




1
 John Doe is proceeding under a pseudonym. The original minute entry included the names of John Doe and his
mother and father as present. That minute entry (Rec. Doc. 22) is hereby stricken from the record.
